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                                       IN THE UNITED STATES DISTRICT COURT
                                        FOR THE WESTERN DISTRICT OF TEXAS
                                                  AUSTIN DIVISION

                 LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1 :22-cv-00424-RP
                 PURYEAR, KATHY KENNEDY,                    §
                 REBECCA JONES, RICHARD DAY,                §
                 CYNTHIA WARING, AND DIANE                  §
                 MOSTER,                                    §
                                                            §
                    Plaintiffs,                             §
                                                            §
                            V.                              §
                                                            §
                 LLANO COUNTY, RON CUNNINGHAM, §
                 in his official capacity as Llano County   §
                 Judge, JERRY DON MOSS, in his official §
                 capacity as Llano County Commissioner,     §
                 PETER JONES, in his official capacity as   §
                 Llano County Commissioner, MIKE            §
                 SANDOVAL, in his official capacity as      §
                 Llano County Commissioner, LINDA           §
                 RASCHKE, in her official capacity as Llano §
                 County Commissioner, AMBER MILUM, §
                 in her official capacity as Llano County   §
                 Library System Director, BONNIE            §
                 WALLACE, in her official capacity as       §
                 Llano County Library Board Member,         §
                 ROCHELLE WELLS, in her official            §
                 capacity as Llano County Library Board     §
                 Member, RHONDA SCHNEIDER, in her           §
                 official capacity as Llano County Library  §
                 Board Member, and GAY BASKIN, in her §
                 official capacity as Llano County Library  §
                 Board Member,                              §
                                                            §
                    Defendants.                             §



                        DECLARATION OF BARBARA SUZETTE BAKER IN SUPPORT OF
                           PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
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sbaker@co.llano.tx.us

From:                             amilum@co.llano.tx.us
Sent:                             Wednesday, February 16, 2022 5:39 PM
To:                               Suzette Baker; April Puryear; Jennifer Kormish
Cc:                               Ron Cunningham; Lisa Otto
Subject:                          Meeting this morning



Ladies,

As a follow-up to our discussion this morning.

1. You were told not to bring negative attention to the staff or library with what you say
and do.

2. You are to take the display down as well as the Facebook post.

3. Do not "overshare" with patrons.

4. When asked about Overdrive or purchasing you are to READ the statements and not
to hand them out.

5.Staff members are not to attend Advisory Board meetings. You may not use t our
vacation time to attend.

To ensure business continuity, the other librarians who are on duty shall not be attending as they have other obligations
to fulfill.   - per Judge Cunningham

6. You are to do your job with a positive attitude and adhere to all Llano County policies
and procedures.

REMINDERS:

The Llano county Personnel Policies states:
1B-2 (Under Dress code)
You are required to act in a professional manner at all times and extend the
highest courtesy to co-workers and to the public being served. A cheerful and
positive attitude is essential to our commitment to customer service.

1B-4 Conflict of Interests
Employees of Llano county shall not engage in any employment, relationship,
or activity which could be viewed as a conflict of interest because of the
potential or appearance of affecting the employee's job efficiency, or which
would reduce his/her ability to make objective decisions in regard to his/her
work and responsibility as a Llano County employee.
                                                            1
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The Llano County Library System Internal Policy states:
Library Business

    •   Attending to Library Business:An employee will remain alert, observant, and occupied with
        Library business during the work period. When at work, an employee will devote his/her time
        and attention to the business of the Library. In order to project a professional public image
        and enhance morale and efficiency as well as to provide a safe working environment, each
        employee is required to maintain a clean and orderly work area.

    •   Performance of Duty:An employee will maintain sufficient competence to properly perform
        his/her duties and to assume the responsibilities of the position. The employee will direct and
        coordinate his/her efforts in such a manner as will tend to establish and maintain the highest
        standards of efficiency and professionalism in carrying out the functions and objectives of the
        Library.


Response to Authority
Insubordination:An employee will promptly obey and execute any and all lawful orders of the
Library Supervisor/Director. This includes orders relayed from the Supervisor/Director through
another employee. Insubordination includes, but is not limited to, the following:

            •
                            o   Directly disregarding the supervisor/director's authority
                            o   Disobeying the Supervisor/Director's orders
                            o   Deliberately defying clearly stated library policies, rules, regulations, and
                                procedures
                            o   Criticizing, contradicting, or arguing with the Supervisor/Director in public
                                or in front of other employees in any way that is negative and
                                inappropriate
                            o   Blatantly ignoring the Supervisor/Director's reasonable instructions
                            o   Displaying disrespect toward the Supervisor/Director including, but not
                                limited toTone of voice
                            o   Facial expressions
                            o   Hand or body gestures
                            o   Sarcastic comments

   Everyone needs to be aware, not following directives will result in write-ups, demotion,
· or termination.

I am here to help if you have any needs or concerns.



Jlmber Afi[um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www.llano-library-system.net/




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                                                               Llano County library System
                                                                 Llano        Kingsland        Lak.eshore



Employee Disciplinary Action Form: VERBAL WARNING               WRITTEN WARNING          SUSPENSION       iTERMINATION

                                                  Employee Information
 Employee Name: Suzette Baker                                   Date : March 9, 2022
 Head Librarian/Director: Amber Milum                           Job Title: Head-Librarian


                                                     Type of Discipline
D    First Warning                        D Second Warning                           g] Final W arning & Termination


D Tardiness/ Leaving Early                D Absenteeism                                Violation of Policies
0 Substandard Work                        O Rudeness to Customers                    0 Rudeness to Coworkers
_gj Creating a Disturbance    gj_l nsubordination                                    @ Failure to Follow Instructions
D Other     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                           Details
 Description of Offenses: Your last verbal warning was on Feb. 9, 2022 . We discussed the fact that you were not
 following directives and allowing personal opinions to interfere with job duties and procedures. Since then, On Friday,
 Feb. 25, 2022, you got the Llano staff confused because you were worried about the weather and after I spoke to you,
 you cal led the Llano staff and relayed what I had said about staying open . You acted beyond your authority as the
 Llano staff is not your concern. I'm getting phone calls about you getting people upset about things you are telling
 them. You deliberately got the friends group upset about their donation money and had them worried . Then on
 March 7, 2022, I received a phone call that you said you are not comfortable asking the friends to purchase kindles
 and have gotten people to back out of donating. This is not your call. This change is inevitable and you are allowing
 your personal biases, opinions, and preferences to unduly influence your actions and judgment and have created a
 disturbance within the Friends group.
 Your negative behavior was insubordinate and disruptive to the Friends of the Kingsland Library, the Staff of the Llano
 Library, and not in the best interest of the Llano County Library System or Llano County. Both county and internal
 library policies have been violated .
 As a result, you have been terminated effective 03/09/2022 and your services are no longer needed.


                                       Acknowledgment of Receipt of Termination
By signing this form, you confirm that you and the Llano County Library System Director have discussed the details of your
termination.
    ~;

                                                                       Date




~-~
Llano County Library System Director                                  Date
                                                                                                l




Cc : Llano County Personnel file
LCLS 2021
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Llano County Personnel Policy violated:

1B-11 Discipline

Each supervisor shall have the authority to administer discipline to employees in their department for poor
performance, violation of policies, disruptive behavior, or any other behavior or activity which the supervisor
feels is not acceptable as it relates to the employee's job or the best interest of the department or county.

Depending on the severity of the situation, discipline may range from informal counseling up to and including
immediate termination.

Llano County Library System Internal Policy violated

The Llano county Personnel Policies states:

             1B-2 (Under Dress code)

       You are required to act in a professional manner at all times and extend the highest courtesy to co-
workers and to the public being served. A cheerful and positive attitude is essential to our commitment to
customer service.



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Employees of Llano county shall not engage in any employment, relationship, or activity which could be viewed
as a conflict of interest because of the potential or appearance of affecting the employee's job efficiency, or
which would reduce his/her ability to make objective decisions in regard to his/her work and responsibility as a
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Insubordination includes, but is not limited to, the following:
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            o   Directly disregarding the supervisor/director's authority
            o   Disobeying the Supervisor/Director's orders
            o   Deliberately defying clearly stated library policies, rules, regulations, and procedures
            o   Criticizing, contradicting, or arguing with the Supervisor/Director in public or in front of other
                employees in any way that is negative and inappropriate
            o   Blatantly ignoring the Supervisor/Director's reasonable instructions
            o   Displaying disrespect toward the Supervisor/Director including, but not limited to tone of voice
            o   Facial expressions
            o   Hand or body gestures
            o   Sarcastic comments




LCLS 2021
